                                                                                                                               11/24/2021 09:16:44am
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 Fill in this information to identify the case:
 Debtor              Preferred Ready-Mix LLC

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number         21-33369                                                                                 Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the
                                                                claim is: Check all that apply.

                                                                   Contingent
                                                                   Unliquidated
                                                                   Disputed

                                                                Basis for the claim:

Date or dates debt was incurred
                                                                Is the claim subject to offset?

Last 4 digits of account
                                                                 No
number
                                                                 Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(     )




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 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $1,879.84
                                                                   Check all that apply.
Active Radiator                                                     Contingent
3675 Amber Street                                                   Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
Philadelphia                             PA       19134            Building Lease

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes

     3.2   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                   $28,508.80
                                                                   Check all that apply.
AG Barn Management, LLC                                             Contingent
PO Box 409                                                          Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
Mayfield                                 KY       42068            Business Debt

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes

     3.3   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    Unknown
                                                                   Check all that apply.
Alisons Inc.                                                        Contingent
1220 Shotwell Street                                                Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
Houston                                  TX       77020            Property Lease

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes

     3.4   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    Unknown
                                                                   Check all that apply.
AT&T                                                                Contingent
208 S. Akard Street                                                 Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
Dallas                                   TX       75202            Business Debt

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes




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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

   3.5     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $17,747.17
                                                                Check all that apply.
Bank Direct Capital Finance                                      Contingent
150 N. Field Drive, Suite 190                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Lake Forest                            IL       60045           Building Lease

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

   3.6     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $13,433.19
                                                                Check all that apply.
BlueVine Capital                                                 Contingent
401 Warren St., Suite 300                                        Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Redwood City                           CA       94063           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

   3.7     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $180,000.00
                                                                Check all that apply.
Cameron Roesle                                                   Contingent
10457 Royal Andrews Drive                                        Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Conroe                                 TX       77303           Judgment Lien

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

   3.8     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Cirro Energy                                                     Contingent
2745 Dallas Parkway, Suite 200                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Plano                                  TX       75093           Utilities

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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 Part 2:      Additional Page
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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

   3.9     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $14,207.85
                                                                Check all that apply.
Con-Tech Manufacturing Inc.                                      Contingent
67079 170th Avenue                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dodge Center                           MN       55927           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.10     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $14,000.00
                                                                Check all that apply.
Deon Wallace                                                     Contingent
2911 Ashlyn Arbor Drive                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Fresno                                 TX       77545           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.11     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $8,936.22
                                                                Check all that apply.
Gulfgate Dodge                                                   Contingent
7250 Gulf Freeway                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77017           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.12     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $22,000.00
                                                                Check all that apply.
Intuit Quickbooks                                                Contingent
2700 Coast Avenue                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Mountain View                          CA       94043           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.13     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $3,069.30
                                                                Check all that apply.
Jeffrey C. McClellan, CPA, PLLC                                  Contingent
830 3rd St., Ste 205                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Rosenberg                              TX       77471           Accountant Fees

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.14     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $4,500.00
                                                                Check all that apply.
Lopez Concrete Chipping                                          Contingent
7802 Pecan Villas Drive                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77061           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.15     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $7,027.69
                                                                Check all that apply.
Mai & Na PLLC                                                    Contingent
6588 Corporate Drive, Suite 188                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77036           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.16     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
Mark S. Mills                                                    Contingent
SP #35733                                                        Unliquidated
Montgomery County Jail                                           Disputed
                                                                Basis for the claim:
                                                                Notice Only

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes
Defendant in pending lawsuits




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.17     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $54,386.53
                                                                Check all that apply.
Matthew Tyson                                                    Contingent
5511 Olympiad Drive                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77041           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.18     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $1,171.64
                                                                Check all that apply.
McNielius Truck & Manufacturing Company                          Contingent
14201 Collections Center Drive                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60693           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.19     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $33,900.00
                                                                Check all that apply.
Medellin Concrete Chippin Service, Inc.                          Contingent
PO Box 225                                                       Unliquidated
South Houston, TXD 77587                                         Disputed
                                                                Basis for the claim:
                                                                Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.20     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $45,619.00
                                                                Check all that apply.
Rhino Ready Mix LLC                                              Contingent
6638 Madden Lane                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77048           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.21     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    $8,000.00
                                                                Check all that apply.
Texas Truck Parts                                                Contingent
2802 N. Wayside Drive                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77020           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.22     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $444,381.01
                                                                Check all that apply.
Texcon Ready Mix                                                 Contingent
2078 FM 1314                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Porter                                 TX       77365           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes
disputed as to amount owed

  3.23     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                    Unknown
                                                                Check all that apply.
Verizon Reveal                                                   Contingent
1095 Avenue of the Americas                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
New York                               NY       10036           GPS Service for trucks

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.24     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $30,000.00
                                                                Check all that apply.
Wayne Tyson                                                      Contingent
19238 San Solomon Springs Court                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Cypress                                TX       77433           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.25     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $10,000.00
                                                                Check all that apply.
Wex Bank                                                         Contingent
ExxonMobil                                                       Unliquidated
PO Box 4337                                                      Disputed
                                                                Basis for the claim:
Carol Stream                           IL       60197-4337      Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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 Part 3:       List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be
      listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages
      are needed, copy the next page.

         Name and mailing address                                              On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                               related creditor (if any) listed?               account number,
                                                                                                                               if any

4.1      Campbell Concrete & Materials LLC                                     Line
         16155 Park Row, Suite 120                                                    Not listed. Explain:
                                                                               
                                                                                      Notice only


         Houston                       TX      77084
         Contractor Agreement

4.2      Cemex Const. Materials Houston, LLC                                   Line
         5303 Navigation Blvd.                                                        Not listed. Explain:
                                                                               
                                                                                      Notice Only


         Houston                       TX      77011
         Transportation Agreement

4.3      Jeff Kaiser, Esq.                                                     Line      3.22
         2211 Norfolk Street, Suite 528                                               Not listed. Explain:
                                                                               


         Houston                       TX      77098


4.4      Mark S. Mills                                                         Line

         1111 League Line Road St.                                                    Not listed. Explain:
                                                                               
                                                                                      Notice Only


         Conroe                        TX      77303
         Defendant in pending lawsuits

4.5      Robert Foran                                                          Line

         9526 BonBrook Bend Lane                                                      Not listed. Explain:
                                                                               
                                                                                      Notice Only


         Richmond                      TX      77469


4.6      Robert W. Berleth, Receiver                                           Line

         9950 Cypresswood Drive, Suite 200                                            Not listed. Explain:
                                                                               
                                                                                      Notice Only


         Houston                       TX      77070




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 Part 3:      Additional Page for Others to Be Notified About Unsecured Claims

         Name and mailing address                                    On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                     related creditor (if any) listed?               account number,
                                                                                                                     if any

4.7      St. Croix Custom Pools, LLC                                 Line
         1501 McBride Rd.                                                   Not listed. Explain:
                                                                     
                                                                            Notice Only


         Cleveland                  TX    77328
         Defendant in pending lawsuits




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 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                        $0.00

5b. Total claims from Part 2                                                              5b.   +            $942,768.24


5c. Total of Parts 1 and 2                                                                5c.                $942,768.24
    Lines 5a + 5b = 5c.




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